     Case 3:19-cr-01941-JLS Document 43 Filed 01/30/20 PageID.102 Page 1 of 3




 1 ROBERT S. BREWER, JR.
   United States Attorney
 2 LAUREN G. LABUFF
   Assistant United States Attorney
 3 Arizona Bar No. 029151
   Office of the United States Attorney
 4 880 Front Street, Room 6293
   San Diego, California 92101-8893
 5 Telephone: (619) 546-7710
   Email: lauren.labuff2@usdoj.gov
 6
   Attorneys for Plaintiff
 7 United States of America
 8
 9                         UNITED STATES DISTRICT COURT

10                        SOUTHERN DISTRICT OF CALIFORNIA

11    UNITED STATES OF AMERICA,               Case No. 19CR1941-JLS
12                Plaintiff,
                                              MOTION FOR PROTECTIVE ORDER
13          v.
14    KARINA GONZALEZ-BURGOIN,                The Honorable Janis L. Sammartino
      ABRAHAM PENA,
15
                  Defendants.
16
17         COMES NOW, the plaintiff, UNITED STATES OF AMERICA, by and through its
18 counsel ROBERT S. BREWER, JR., United States Attorney, Lauren G. LaBuff, Assistant
19 U.S. Attorney. The Government hereby requests that the Court enter a Protective Order
20 pursuant to Rule 16(d) of the Federal Rules of Criminal Procedure with regard to data
21 extracted from the defendants’ cellular phones, which may include personal information
22 about third-parties. The Government hereby requests the following:
23       1.     That the Protected Materials are for the exclusive use of the Defense Attorney
24 assigned to or consulting on this case, any investigators, interpreter, experts, paralegals,
25 legal assistants, or law clerks assistant counsels in this case (the “Defense”). The parties
26 agree that the Defense may review the Materials with the defendant only in the presence
27 of a member of the Defense and may not provide a copy of the Materials with the defendant.
28 The defendant may not retain copies of the Materials in any form.
     Case 3:19-cr-01941-JLS Document 43 Filed 01/30/20 PageID.103 Page 2 of 3



             2.       That if, in the course of preparing the defense in this case, any member of the
 1
     Defense needs to disclose the Protected materials the Defense needs to disclose Protected
 2
     Materials to any person outside of Defense (such as to a third-party witness), counsel of
 3
 4 record must obtain prior written authorization from the Court, with such authorization to
 5 require that any such person to whom the Protected Materials are disclosed agree to be
 6 bound by the terms of this protective order, that the Protected Materials be only shown to,
 7 and not left with, such person, and that the Protected Materials remain in the custody and
 8 control of the Defense.
 9       3.     That the Protected Materials are provided to the Defense for purposes of

10 investigating, preparing for trial, trial, and any appeals of this matter and for no other
11 purpose. The parties further agree that the Protected Materials produced by the United
12 States may not be copied or further disseminated in any way to any other person or entity
13 who is not part of the Defense.
14           4.       That the Defense take all reasonable steps to (a) maintain the

15 confidentiality of the Protected Materials, and (b) safeguard the Protected Materials
16 produced in this case from inadvertent disclosure or review by any third party.
17           5.       That the Defense agrees to return to the United States or destroy any and

18 all copies of the Protected Materials within 30 days of the conclusion of the proceedings
19 in the above-referenced case, including any appeal.
20           6.       That the parties agree that any court filings containing any part of the

21 Protected Materials shall be filed under seal or subject to redactions approved by the
22 United States.
23 / /
24 / /
25 / /
26 / /
27 / /
28 / /
     United States’ Motion for Protective Order
                                                      2
     Case 3:19-cr-01941-JLS Document 43 Filed 01/30/20 PageID.104 Page 3 of 3



             7.       The Government has contacted Steve White and Ryan Stitt, defense attorneys
 1
     for Defendants Gonzalez-Burgoin and Pena, respectively, each of whom indicated there is
 2
     no objection to this motion.
 3
 4
 5           DATED: January 30, 2020                Respectfully Submitted,
 6                                                  ROBERT S. BREWER, JR.
                                                    United States Attorney
 7
 8                                                  /s/ Lauren G. LaBuff
                                                    LAUREN G. LABUFF
 9                                                  Assistant United States Attorney
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     United States’ Motion for Protective Order
                                                    3
